 Fill in this information to identify your case:

 Debtor 1          Anthony Scott Levandowski
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of California
                                                      District of __________

 Case number         20-30242
                     ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                  amended filing



 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                           0.00
                                                                                                                                                                              $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                 240,180,792.00
                                                                                                                                                                              $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                 240,180,792.00
                                                                                                                                                                              $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                          Your liabilities
                                                                                                                                                                          Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                           0.00
                                                                                                                                                                              $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                    303,900.00
                                                                                                                                                                              $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                          +      182,107,542.00
                                                                                                                                                                              $ ________________


                                                                                                                                        Your total liabilities                   182,411,442.00
                                                                                                                                                                              $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                      4,619.00
                                                                                                                                                                              $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                      41,169.00
                                                                                                                                                                              $ ________________




          Case:
Official Form     20-30242
              106Sum                            Doc# 14 ofFiled:
                                                  Summary        03/18/20
                                                          Your Assets            Entered:
                                                                      and Liabilities         03/18/20
                                                                                      and Certain Statistical22:36:10
                                                                                                             Information                                                Page 1 of 54
                                                                                                                                                                               page 1 of 2
   Debtor 1        Anthony  Scott Levandowski
                   _______________________________________________________                            Case number         20-30242
                                                                                                                    (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        Yes

   7. What kind of debt do you have?

        Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



       9d. Student loans. (Copy line 6f.)                                                                      $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



       9g. Total. Add lines 9a through 9f.                                                                     $_____________________




Official FormCase:
             106Sum        20-30242      Doc#
                            Summary of Your      14
                                            Assets      Filed: 03/18/20
                                                   and Liabilities                Entered:
                                                                   and Certain Statistical      03/18/20 22:36:10
                                                                                           Information                                 Page 2 of 54
                                                                                                                                              page 2 of 2



          ANTHONY         SCOTT LEVANDOWSKI
                   
                                                  

           
                              


Northern District
                                               of California
                                                       

                     20-30242
 
                                                                                                                                            
                                                                                                                                               


                                                                                                                                    






 

 

         
         
                                                                          
                                                                                                 
                                                                      
            
                                                                    
                                                                                          
                                                                                            
              
                                                                                                               
                                                                    
                                                                           
                                   
                                                                    
                                                                                                                     
                                                                           
                                                                   
                                                                                                                     
                                                                   
              
                                                             
                                                                                          
                                                                                                                         
                                                                   
                                                                   
                                                                   
    
                                                                          
                                                                                                 
                                                                       
            
                                                                   
                                                                                          
                                                                                            
              
                                                                                                               
                                                                   
                                                                            
                                    
                                                                                                          
                                                                           
                                                                   
                                                                  
              
                                                            
                                                                                          
                                                                                

                                                                  
                                                                  


              Case: 20-30242

                                           Doc# 14            Filed: 03/18/20 Entered: 03/18/20 22:36:10
                                                                 
                                                                                                                                    Page 3 of 54
                                                                                                                                                
      ANTHONY        SCOTT LEVANDOWSKI
                                                                     20-30242
                                                                                                           
                                 




                                                                                
                                                                                                       
                                                                             
                   
                                                                                                
                                                                                                                                
                             
                                                                                                                     

            
                                                                      
                                                                                            
                                                                                                                           
                                                                                 
                                                                      
                            
            
                                                                     
                                                                                                
                                                                                                                               
                                                                     
                                                                     
                                                                     


                                                    0
                                                                                                                                                     
   




 






 

    
    

                              Toyota
                                                            
                                                                                                                           
                                  Tacoma
                                         
                                                                                                           
                                         2014                        
                                                                                                          
                                                                     
             ~69,000
                                                        
                                                                                                                                

            
                                                                                                                                      5,000
                                                                                                                                               5,000
                                                                                                                                                     
                                                                     
                                                                        



   

     
                                        VW
                                                            
                                                                                                                           
                                 Jetta
                                        
                                                                                                           
                                        2009                         
                                                                                                          
                                                                     
             ~65,000
                                                                                                                                
                                                        
                                                                                                                                                    500
                                                                                                                                        500
                                                                                                                                    
                                                                     
            Not running - to be donated                                 




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                                                                                                                    
       ANTHONY        SCOTT LEVANDOWSKI
                                                                                                 20-30242
                                                                                                                                
                                         




    
                                            Honda
                                                                                       
                                                                                                                                                      
                                     CRF250L
                                            
                                                                                                                                      
                                            2017                             
                                                                                                                                     
                                                                             
             ~ 2,000
                                                                
                                                                                                                                                           

            
                                                                                                                                                                 7,000
                                                                                                                                                                                  7,000
                                                                                                                                                                                        
                                                                             
                                                                                 


                                                                                                      
                                 
                                                                                                                                                      
                                     
                                                                                                                                      
                                                                             
                                                                                                                                     
                                                                             
                                                                                                                       
                                                                             
            
                                                                                                                            
                                                                                 




 
   
    
    

                                                                                                      
     
                                                                                                                                                      
                                                                                                         
                                                                             
                 
                                                                                                                           
                                                                                              
            (See attached)
                                                                                                                      85,000
                                                                                                                                                                                 85,000
                                                                                                                                                                                        
                                                                                 



   
                                                                             
                                                                                                                     
                                                                                                                                                      
                                                                                                         
                                                                             
                                                                                                                                   
                                                                                                                               
                                                         
                                                                                                                                                                      
                                                                             
                                                                                 




                                                                               97,500
                                                                                                                                                                                       
   




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                                                                                                                                                    
        ANTHONY        SCOTT LEVANDOWSKI
                                                                                                                20-30242
                                                                                                                                             
                                               




 

                                                                                                                                                                                                 
                                                                                                               
                                                                                                                                                                                                 
                                                                                                                                                                                                 

 
   
    
     Various living room/dining/bed room furniture; dishes, misc.                                                                                                                      8,000
                                                                                                                                                                                                  

 
   
             
    
     Apple laptop, Apple iPad, TVs, Headphones, Occulus VR, Printer, Phone                                                                                                            3,100
                                                                                                                                                                                                  

 
   
             
    
                                                                                                                                                                                           0
                                                                                                                                                                                                  

 
   
             
    
     Rowing machine                                                                                                                                                                     600
                                                                                                                                                                                                  


   
    
                                                                                                                                                                       


   
    
     Pants, shirts, suit, shoes, misc                                                                                                                                                2,100
                                                                                                                                                                                                  



   
             
    
                                                                                                                                                                                          0
                                                                                                                                                                                                  


   

    
                                                                                                                                                                                     2,500
                                                                                                                                                                                                  
                                        Great Dane dog


    
                                                                                                                                                                                              500
                                                                                                                                                                                                  
         Luggage

                                                                                                   16,800
                                                                                                                                                                                                  
   


            Case: 20-30242                              Doc# 14                 Filed: 03/18/20                        Entered: 03/18/20 22:36:10                                          Page 6 of 54
                                                                                                                                                                     
             ANTHONY        SCOTT LEVANDOWSKI
                                                                                                                             20-30242
                                                                                                                                                             
                                                         




 

                                                                                                                                     
                                                                                                                                                                                                                 
                                                                                                                                                                                                                 
                                                                                                                                                                                                                 



     

  
                      2,524
                                                                                                                                                                                                                  




      
                
      
                                                                        


                                                                          (See attached)
                                                                                                                                                                   146,620
                                                                                                                                                                                                                  

                                                                                                                                           18,443
                                                                                                                                                                                                                  

                                                                                                                                

                                                                                                                                

                                                                                                                         

                                                                                                                        

                                                                                                                        

                                                                                                                        

                                                                                                                        





     
  
                      

                                                                                                                        
                                                                                                                        
                                                                                                                        




 
     

                                                                                                                                                          
                             (See  attached)
                                                                                                                                       10,745,424
                                                                                                                                                                                                                  
           
                                                                                                
                                                                                                                               




                Case: 20-30242                                 Doc# 14                    Filed: 03/18/20                             Entered: 03/18/20 22:36:10                                          Page 7 of 54
                                                                                                                                                                                     
        ANTHONY        SCOTT LEVANDOWSKI
                                                                       20-30242
                                                                                                             
                                           




 
   
   

  
                       
        
                              
                                          
                                                                                                                                                  
                                          
                                                                                                                                                  


 
   
    
    
                                

                                                                   (See attached)
                                                                 386,773
                                                                                                                                                  

                                                               

                                                                (See  attached)
                                                                                      17,228,626
                                                                                                                                                  

                                                          

                                                                      

                                                          

                                                          




   
   
   

    
                                

                                                               
                                                                    
                                                   
                                                                                                                                                 
                                                                           5 Cloudview $12,400; 250 Fawn Park $1,000
                                                                   13,400
                                                                                                                                                 
                                                  5 Cloudview $24,800 (4mo); 250 Fawn Park $12,480 (3mo)
                                                                                           37,280
                                                                                                                                                 
                                                     
                                                                                                                                                 
                                                         
                                                                                                                                                 
                                           
                                                                                                                                                 
                                                          (See attached)
                                                                                       3,663,380
                                                                                                                                                 




    
       
                                                        
                                                         
                                                         

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                                                                                                                    
        ANTHONY        SCOTT LEVANDOWSKI
                                                                            20-30242
                                                                                                                  
                                           





   
    
         

                                                                     
                                                                     
                                                                     



   

    
                                (See attached)
                                                                                                                                        7,038,470
                                                                                                                                                          


 
   
    
                                Various internet domain names
                                                                                                                                                 1
                                                                                                                                                          


 
   

    
    
                                                                                                                               


                                                                                                                           
                                                                                                                                                          
                                                                                                                                                          
                                                                                                                                                          



    
                                Refunds owed on Federal returns filed for 2014                                          121,000
                                                                                                                                                        
                
                               and    2018                                                                        
                
                                                                                                                                                  


 
   
    
    
                                                                                                                                                
                                                                                                                                             
                                                                                                                                                
                                                                                                                                      
                                                                                                                                    

 
   
             
    
     (See attached)
                                                                                                                                                                    15,431,104
                                                                                                                                                          



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                                                                                                                            
        ANTHONY        SCOTT LEVANDOWSKI
                                                                                                                20-30242
                                                                                                                                             
                                               




 
   
    
                                                                                                                                        
                
                                                                     [see  attached]
                                                                                                                                       10,000
                                                                                                                                                                                                    
                                                                                                                           
                                                                                                                           

 
   
   
    
    
                                                                                                                                                                                                    


 
   
    
    
                                                                    (See attached)                                                                                                                           179,523,572
                                                                                                                                                                                                    


   
    
    
                                                                                                                                                                                                    






    
     (See attached)                                                                                                                                               5,696,376
                                                                                                                                                                                                    



 
                 240,062,992
                                                                                                                                                                                                    




  



    
    
                                                                                                                                                                                                  
                                                                                                                                                                                                  
                                                                                                                                                                                                  
                                                                                                                                                                                                  



  
   
                                                                                                                                                                                                  

 
     

    
                                                                                                                                                                                           3,500
                                                                                                                                                                                                  
                                    Tools of trade - Computer, printer, phone, generator, tool box and tools

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                                                                                                                                                                       
                                                                                                    54
        ANTHONY        SCOTT LEVANDOWSKI
                                                                                                                20-30242
                                                                                                                                             
                                               






    
                                                                                                                                                                           



    
                                                                                                                                                                           




    
                                                                                                                              
                                        (Refer to Schedule A Part 4 Question 19)
                                                                                                                
                                                                                                                
                                                                                                                 



   
  
           
           
                                                                                                                                                                                                   



    
                                                                                        
        
                                                                                                            
                                                                                                           
                                                                                                           
                                                                                                           

                                                                                                            

                                                                                                    3,500
                                                                                                                                                                                                   
   




       
                



    
    
                                                                                                                                                                                                
                                                                                                                                                                                                  
                                                                                                                                                                                                  
                                                                                                                                                                                                  
 
   
    
    
                                                                                                                                                                                                    


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                                                                                                                                                                      
                                                                                                    54
           ANTHONY        SCOTT LEVANDOWSKI
                                                                                                                       20-30242
                                                                                                                                                  
                                                   






      
      
                                                                                                                                                                               


      
      
                                                                                                                                                                                                          



      
      
                                                                                                                                                                                                          


  
   
                                                                                                                                                                               

 
                                                                                                                                                                                                         
                                                                                                                                                                                                                                0
     



          

 
     

      
                                                                                                                                                                                                           
      
                                                                                                                                                                                 
                                                                                                                                                                                                            



                                                                                                                                                                                                                            0
                                                                                                                                                                                                            




           



                                                                                                                                                                                                                          0
                                                                                                                                                                                                          


                                                                                                                            97,500
                                                                                                                  


                                                                                                                            16,800
                                                                                                                  


                                                                                                                       240,062,992
                                                                                                                  


                                                                                                                             3,500
                                                                                                                  


                                                                                                                                  0
                                                                                                                  

                                                           0
                                          240,180,792 
                                                                                                                                                                                            240,180,792
                                                                                                                                                                                                         



                                                                                                                                                                                                                240,180,792
                                                                                                                                                                                                          


                 Case: 20-30242                              Doc# 14                   Filed: 03/18/20 Entered: 03/18/20 22:36:10                                                                    Page 12 of
                                                                                                                                                                          
                                                                                                        54
Fill in this information to identify your case:

 Debtor 1           ANTHONY SCOTT LEVANDOWSKI
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of California
                                                       District of __________

 Case number          20-30242
                     ___________________________________________                                                                             Check if this is an
  (If known)
                                                                                                                                                amended filing



 106C
Schedule C: The Property You Claim as Exempt                                                                                                              

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:
                              [see attached]
                             _________________________      $________________             $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:           _________________________      $________________             $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________             $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


  Are you claiming a homestead exemption of more than $1?
     (Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes


               Case: 20-30242
Official Form 106C
                                           Doc# 14           Filed: 03/18/20 Entered: 03/18/20 22:36:10
                                                            Schedule C: The Property You Claim as Exempt
                                                                                                                                        Page 13 of
                                                                                                                                                page 1 of __
                                                                           54
Debtor 1      ANTHONY SCOTT LEVANDOWSKI
             _______________________________________________________                           Case number           20-30242
                                                                                                             (if known)_____________________________________
             First Name        Middle Name       Last Name




 Part 2:    Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B

     Brief                                                                                                               ____________________________
     description:
                           [see attached]
                          _________________________      $________________       $ ____________                         ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to       ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                               ____________________________
     description:
                          _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit        ____________________________


     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                   ______                                                          any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to       ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                                                                                                                         ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                   ______                                                          any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to       ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                               ____________________________
     description:         _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                                                                                                                         ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                               ____________________________
     description:
                          _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                   ______                                                          any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:
                          _________________________      $________________       $ ____________                         ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to       ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                               ____________________________
     description:
                          _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                                                                                                                         ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                               ____________________________
     description:
                          _________________________      $________________       $ ____________                         ____________________________
     Line from                                                                   100% of fair market value, up to       ____________________________
                   ______                                                          any applicable statutory limit        ____________________________
     Schedule A/B:

           Case: 20-30242

                                             Doc# 14         Filed: 03/18/20 Entered: 03/18/20 22:36:10
                                                       Schedule C: The Property You Claim as Exempt
                                                                                                                                 Page 14  of2 of __
                                                                                                                                       page ___
                                                                           54
Fill in this information to identify your case:

 Debtor 1           Anthony Scott Levandowski
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of California
                                                      District of __________

 Case number         20-30242
                     ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
       Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code
                                                               Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
       Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________

                 Case: 20-30242                 Doc# 14        Filed: 03/18/20 Entered: 03/18/20 22:36:10                                            Page 15 of
fficial Form 106D                                 Schedule D: Creditors Who Have54
                                                                                  Claims Secured by Property                                                   page 1 of ___
Debtor 1        Anthony  Scott Levandowski
                _______________________________________________________                                       Case number          20-30242
                                                                                                                            (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                           Column A               Column B              Column C
Part 1:                                                                                                                Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                       Do not deduct the
             by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                        Contingent
   ______________________________________               Unliquidated
   City                         State    ZIP Code
                                                        Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
     Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit

     Check if this claim relates to a
                                                        Other (including a right to offset) ____________________

      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                    $_________________
             Case: 20-30242                   Doc# 14        Filed: 03/18/20 Entered: 03/18/20 22:36:10                                          Page 16 of
                      Additional Page of Schedule D: Creditors54
                                                                                 Who Have Claims Secured by Property                                       page ___ of ___
Debtor 1     Anthony   Scott Levandowski
              _______________________________________________________                           Case number         20-30242
                                                                                                              (if known)_____________________________________
              First Name     Middle Name         Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

            Case: 20-30242                 Doc# 14           Filed: 03/18/20        Entered: 03/18/20 22:36:10                    Page 17 of
                                                          54 Have Claims Secured by Property
                                            Part 2 of Schedule D: Creditors Who                                                              page ___ of ___
  Fill in this information to identify your case:

      Debtor 1          ANTHONY SCOTT LEVANDOWSKI
                        __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: __________
                                              Northern District    of __________
                                                                of California
                                                          District

      Case number         20-30242
                          ___________________________________________
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
            Internal Revenue Service
           ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___             225,000.00 $___________
                                                                                                                                   $_____________ 225,000.00$____________
           Priority Creditor’s Name
            PO Box 7346
           ____________________________________________                 When was the debt incurred?          12/31/2016
                                                                                                             ____________
           Number            Street
           ____________________________________________
                                                                        As of the date you file, the claim is: Check all that apply.
           Philadelphia              PA 19101
           ____________________________________________                    Contingent
           City                                State     ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                 Debtor 1 only
                 Debtor 2 only                                         Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                 At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                  intoxicated
                 No                                                       Other. Specify _________________________________
                 Yes
2.2         Franchise Tax Board                                                                                                          75,000.00 $___________
                                                                                                                                                      75,000.00$____________
           ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________
           Priority Creditor’s Name

            Personal Bankruptcy MS A340                                 When was the debt incurred?          12/31/2016
                                                                                                             ____________
           ____________________________________________
           Number            Street
            PO Box 2952
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.

           Sacramento                CA 95812
           ____________________________________________
                                                                           Contingent
           City                                State     ZIP Code          Unliquidated

           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                 No
                 Yes
                   Case: 20-30242                      Doc# 14        Filed: 03/18/20             Entered: 03/18/20 22:36:10                          Page 18 of
 Official Form 106E/F                                                                    54 Have Unsecured Claims
                                                                 Schedule E/F: Creditors Who                                                                  page 1 of ___
 Debtor 1          ANTHONY      SCOTT LEVANDOWSKI
                    _______________________________________________________                                  Case number            20-30242
                                                                                                                              (if known)_____________________________________
                    First Name    Middle Name           Last Name


 Part 1:           Your PRIORITY Unsecured Claims  Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                               Total claim    Priority      Nonpriority
                                                                                                                                                     amount        amount

2.3
      Stefanie Olsen
      ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                   3,900.00 $__________
                                                                                                                                     $____________ 3,900.00 $____________
      Priority Creditor’s Name
      [redacted]
      ____________________________________________                   When was the debt incurred?          04/22/2016
                                                                                                          ____________
      Number             Street

      ____________________________________________                   As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                        Contingent
      City                                State    ZIP Code             Unliquidated
                                                                        Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                         intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                 $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                   When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                   As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                        Contingent
      City                                State    ZIP Code             Unliquidated
                                                                        Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                         intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                 $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                   When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                   As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                        Contingent
      City                                State    ZIP Code             Unliquidated
                                                                        Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                         intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes
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                                                              54 Have Unsecured Claims
                                                          Schedule E/F: Creditors Who                                                                              page __ of ___
 Debtor 1           ANTHONY     SCOTT LEVANDOWSKI
                    _______________________________________________________                              Case number            20-30242
                                                                                                                       (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1
       [see attached]
       _____________________________________________________________                Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                           $__________________
                                                                                    When was the debt incurred?            ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________
       City                                             State          ZIP Code     As of the date you file, the claim is: Check all that apply.

                                                                                        Contingent
       Who incurred the debt? Check one.                                                Unliquidated
             Debtor 1 only                                                             Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                   Student loans

             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts
             No                                                                        Other. Specify ______________________________________
             Yes

4.2                                                                                 Last 4 digits of account number ___ ___ ___ ___                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                  When was the debt incurred?            ____________

       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                        Contingent
       Who incurred the debt? Check one.                                                Unliquidated

             Debtor 1 only
                                                                                        Disputed

             Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                   Student loans
                                                                                        Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts

             No                                                                        Other. Specify ______________________________________

             Yes

4.3
       _____________________________________________________________                Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                           $_________________
                                                                                    When was the debt incurred?            ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________                As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                        Contingent
       Who incurred the debt? Check one.
                                                                                        Unliquidated
             Debtor 1 only
                                                                                        Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                        Student loans
             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                        Other. Specify ______________________________________
             Yes


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                                                            Schedule E/F: Creditors Who                                                                             page __ of ___
 Debtor 1          ANTHONY     SCOTT LEVANDOWSKI
                   _______________________________________________________                                 Case number          20-30242
                                                                                                                         (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims  Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________                                                                                             $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code             Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                    Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      Other. Specify________________________________
            No
            Yes




                                                                                        Last 4 digits of account number ___ ___ ___ ___                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code             Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                    Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      Other. Specify________________________________
            No
            Yes


                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code             Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                    Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      Other. Specify________________________________
            No
            Yes




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                                                           Schedule E/F: Creditors Who                                                                          page __ of ___
 Debtor 1      ANTHONY      SCOTT LEVANDOWSKI
                _______________________________________________________                            Case number         20-30242
                                                                                                                 (if known)_____________________________________
                First Name    Middle Name             Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                             Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                  Claims

      _____________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                             Claims

      _____________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                             Claims

      _____________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                             Claims

      _____________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                             Claims

      _____________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
      City                                    State               ZIP Code


      _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                  Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                  Claims

      _____________________________________________________
      City                                    State               ZIP Code
                                                                             Last 4 digits of account number ___ ___ ___ ___

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                                                       Schedule E/F: Creditors Who                                                                    page __ of ___
Debtor 1    ANTHONY     SCOTT LEVANDOWSKI
            _______________________________________________________                         Case number         20-30242
                                                                                                          (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim



Total claims
                6a. Domestic support obligations                               6a.                     3,900.00
                                                                                       $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                  300,000.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                    303,900.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.     $_________________________


                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                              182,107,542.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                               182,411,442.00
                                                                                        $_________________________




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                                                          54 Have Unsecured Claims
                                                      Schedule E/F: Creditors Who                                                              page __ of ___
 

            ANTHONY         SCOTT LEVANDOWSKI
                   
                                                

            
                             


                                        Northern District
         of California
                                                    

                     20-30242
  
                                                                                                                            
                                                                                                                                           



                                                                                               






  
        
        
  
    
    



                                   



       L&L  Property Management
        Primary Residence
       
       212  Caledonia St.
       
                 
       Sausalito                 CA        94965
       
                                        


       Fawn   Park LLC
        Secondary Residence
       
       1655  Oak Ave.
       
                 
       St. Helena                CA        94574
       
                                        


       Reevemark
                 Public Relations Firm
       
       261 Madison Ave., 6th Fl
       
           
       New York                  NY         10016
       
                                  


       Ashley Rust Assoc.
                 Public Relations Firm
       
       322 East 19th St., Suite 4R
       
           
       New York                  NY         10003
       
                                  


       Protector Boats Services Center
                 Boat Storage & Repair - No contract; monthly boat
                                                                                  storage fee
       790 National Court
       
           
       Richmond                  CA         94804
       
                                  

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                                                       54
                                                                                        
      ANTHONY        SCOTT LEVANDOWSKI
                                                     20-30242
                                                                                            
                            



               

                             

   6
  
         Fineman
            Public Relations
         
         530 Bush St. #403
         
             
         San Francisco             CA         94108
         
                                    

   7
  
         Signalare
            Accounting & Business Services
         
         1655 Oak Ave.
         
             
         St. Helena                CA         94574
         
                                    


   8
  
         Ramsey & Ehrlich
            Legal
         
         803 Hearst Ave.
         
             
         Berkeley                  CA         94710
         
                                    


   9
  
         Goodwin Procter
            Legal
         
         601 Marshall St
         
             
         Redwood City              CA         94063
         
                                    


   1
  
         Keller Benvenutti Kim
            Legal
         
         650 California Street, Suite 1900
         
         San Francisco,
              CA 94108
         San Francisco             CA         94108
         
                                    


   1
  
         McManis Faulkner
            Legal
         
         50 West San Fernando St. #1000
         
             
         San Jose                  CA         95113
         
                                    


   1
  
         Paladin Management Group
            Restructuring Advisory
         
         633 W. 5th St., 28th Fl
         
             
         Los Angeles               CA         90071
         
                                    


   1
  
         SEE Attachment: Sch G
         
         

         
             

         
                                    


             Case: 20-30242                  Doc# 14           Filed: 03/18/20   Entered: 03/18/20 22:36:10                  Page 25 of
                                                         54
                                                                                  
 Fill in this information to identify your case:

 Debtor 1          Anthony Scott Levandowski
                   __________________________________________________________________
                      First Name                    Middle Name              Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name              Last Name


                                         Northern District
 United States Bankruptcy Court for the: __________ DistrictofofCalifornia
                                                                ________

 Case number          20-30242
                      ____________________________________________
  (If known)
                                                                                                                                         Check if this is an
                                                                                                                                           amended filing

 106H
Schedule H: Your Codebtors                                                                                                                           12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                          State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                      Check all schedules that apply:
3.1
         ________________________________________________________________________________              Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                       Schedule E/F, line ______
         Number             Street                                                                     Schedule G, line ______
         ________________________________________________________________________________
         City                                                      State                  ZIP Code

3.2
         ________________________________________________________________________________              Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                       Schedule E/F, line ______
         Number             Street                                                                     Schedule G, line ______
         ________________________________________________________________________________
         City                                                      State                  ZIP Code

3.3
         ________________________________________________________________________________              Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                       Schedule E/F, line ______
         Number             Street                                                                     Schedule G, line ______
         ________________________________________________________________________________
         City                                                      State                  ZIP Code

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Official Form 106H                                                                     54 Codebtors
                                                                           Schedule H: Your                                                  page 1 of ___
 Debtor 1         Anthony   Scott Levandowski
                   _______________________________________________________              Case number         20-30242
                                                                                                      (if known)_____________________________________
                  First Name     Middle Name       Last Name




                  Additional Page to List More Codebtors

        Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
  3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code

  3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code

  3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code

  3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code
 3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code

 3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code

 3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code
 3._
         ________________________________________________________________________________     Schedule D, line ______
         Name
                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                            State               ZIP Code



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                                                              54Codebtors
                                                                  Schedule H: Your                                                  page ___ of ___
 


           ANTHONY SCOTT LEVANDOWSKI
                    
                                              

            
                           


 Northern District
                                                 of California
                                                       

                      20-30242
                                                
 
                                                                                                         
                                                                                                         
                                                                                                           
                                                                                                           
                                                                                        

                                                                                                                            







           


 
                                                                                                   

     
     
                                                                     
                                                                                                     
     
     
                                                            Engineer
                                                                        
     
     
                                                       Pronto.ai, Inc.
                                                                                   


                                                    1186 Folsom St.
                                                                        
                                                                                                    

                                                                        

                                                                        

                                                                       San Francisco         CA     94103
                                                                        
                                                                                                                

                                                                                        

           

     
     
     
     

                                                                                                         
                                                                                                                      
  
                            8,333
                                                                                                             

                                                                 0
                                                                                                       

                                                       8,333
                                                                                                              



                Case: 20-30242

                                          Doc# 14          Filed:
                                                                  03/18/20 Entered: 03/18/20 22:36:10                              Page 28 of 
                                                                             54
             ANTHONY        SCOTT LEVANDOWSKI
                                                                                                 20-30242
                                                                                                                                      
                                                



                                                                                                                                             
                                                                                                                                                          

                      8,333
                                                                                                                                                

   

                                                                                     2,076
                                                                                                                                               
                                                                                           0
                                                                                                                                               
                                                                                        666
                                                                                                                                               
                                                                                           0
                                                                                                                                               
                                                                                                                           972
                                                                                                                                               
                                                                                                          0
                                                                                                                                               

                                                                                                                              0
                                                                                                                                               

                                                                           0
                                                                                                                                          
                                                        3,714
                                                                                                                                               

                                                                   4,619
                                                                                                                                               


       

            
                
               
                                                                              0
                                                                                                                                               
                                                                                                      
                                                                                                                 0
                                                                                                                                               
            
                
                                                                        0
                                                                                                                                               
                                                                                      
                                                                                                             0
                                                                                                                                               
                                                                                                                       0
                                                                                                                                               
             
                 
                 
                 
                                                                               0
                                                                                                                                               

                                                                                                          0
                                                                                                                                               

                                                            
                                                                                                                                                 0        
                                                                     0
                                                                                                                                               

  
                                                                                                                                           4,619
                                                                                                                                                                    4,619
                                                                                                                                                                                          
                                                   

   
          
          
          
                                                                                                          0
                                                                                                                                                                                          

   
                                                            
                                                                                                                                                                                                  4,619
                                                                                                                                                                                          
                                                                                                                                                                                          
                                                                                                                                                                                          
      
                
                


                   Case: 20-30242

                                                           Doc# 14                  Filed:
                                                                                           03/18/20 Entered: 03/18/20 22:36:10                                        Page 29 of 
                                                                                                      54
   Fill in this information to identify your case:

   Debtor 1          ANTHONY SCOTT LEVANDOWSKI
                     __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District
                                           __________        of California
                                                        District of __________                             expenses as of the following date:
                                                                                                           ________________
   Case number         20-30242
                       ___________________________________________                                         MM / DD / YYYY
   (If known)




  106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’                                                    son                                       9                No
                                                                                    _________________________                ________
    names.                                                                                                                                     Yes

                                                                                    son
                                                                                    _________________________                6
                                                                                                                             ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

 3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                0.00
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                    805.00
                                                                                                                               $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official FormCase:
             106J            20-30242       Doc# 14          Filed: 03/18/20
                                                               Schedule            Entered: 03/18/20 22:36:10
                                                                        J: Your Expenses                                             Page 30 ofpage 1
                                                                              54
 Debtor 1        ANTHONY     SCOTT LEVANDOWSKI
                 _______________________________________________________                  Case number         20-30242
                                                                                                        (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.                   450.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.                   354.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                   425.00
                                                                                                                      $_____________________
      6d.                   internet domain registry
            Other. Specify: _______________________________________________                                    6d.                   510.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.                  2,500.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.                  7,667.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.                    200.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.    $_____________________
11.   Medical and dental expenses                                                                              11.                 1,342.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                     617.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.                 1,323.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
      15b. Health insurance                                                                                    15b.   $_____________________
      15c. Vehicle insurance                                                                                   15c.   $_____________________
                                    bundled: vehicles and renters
      15d. Other insurance. Specify:_______________________________________                                    15d.                  286.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                        16.    $_____________________

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                          17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                3,440.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.   $_____________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    $_____________________

      20b. Real estate taxes                                                                                  20b.    $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    $_____________________



            Case:
        20-30242            Doc# 14          Filed: 03/18/20
                                                                 Schedule            Entered: 03/18/20 22:36:10
                                                                          J: Your Expenses                                  Page 31 ofpage 2
                                                                                54
 Debtor 1        ANTHONY     SCOTT LEVANDOWSKI
                 _______________________________________________________                      Case number         20-30242
                                                                                                            (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.                     bus mgr, PR firm, fin advisor, petty cash
       Other. Specify: _________________________________________________                                          21.                21,250.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                 41,169.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                 41,169.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                       4,619.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                41,169.00
                                                                                                                        – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                     -36,550.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.     Explain here:




            Case:
        20-30242           Doc# 14          Filed: 03/18/20
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                                                                         J: Your Expenses                                       Page 32 ofpage 3
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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 2: 4 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

  Sch A.         Make        Model            Other Info                Year        Debtor         Current Value    Portion Owned
   4.1      Protector       28      Inoperable - damaged in             2005    Debtor 1 only             77,000            77,000
                                    accident and insurance claim in
                                    process
   4.2      Continental     Contc                           -25453      2015    Debtor 1 only               3,000            3,000
   4.3      Contc           Util                            -24600      2015    Debtor 1 only               3,000            3,000
   4.4      BigTX           Carrier                         -93497      2018    Debtor 1 only               2,000            2,000




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4: 17 Deposits of money

            Type of Account     Bank Name      Balance

     17.1   Checking          Wells Fargo        22,202
     17.2   Checking          Wells Fargo        68,569
     17.3   Checking          Wells Fargo        12,187
     17.4   Checking          Wells Fargo        27,930
     17.5   Checking          Wells Fargo        15,514
     17.6   Checking          Wells Fargo           218
     17.7   Money Market      Morgan Stanley      3,628
     17.8   Money Market      Morgan Stanley     14,816




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:19 Non-publicly traded stock and interests in incorporated and unincorporated businesses

              Entity Name                % Ownership Partners Capital

Keystone Private Market V, LP                    100%           65,411
18231 Murphy Parkway, LLC                         41%          160,151
Dwight Partners, LLC                              33%        1,735,074
NGI East Bay Portfolio LLC                        29%        8,784,788

                                                           10,745,424




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:21 Retirement or pension accounts

 Acct Type      Institution Name           $

    IRA      Pensco Roth IRA             17,199,570
    IRA      Fidelity -0042                     197
    IRA      Fidelity - 4527                     14
    IRA      Fidelity -5509                   5,130
    IRA      Morgan Stanley - 3935           23,714
    IRA      Morgan Stanley - 3934                0

             Total IRA                   17,228,626

  401(k)     Guideline 401K                 386,773

             Totals                      17,615,399




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:22 Other security deposits and prepayments

          Description                    Service Provider        Amount
Professional Fee Retainer            Ashley Rust Assoc              114,000
Bail Paid to Dept of Justice         DOJ Bail                       300,000
Professional Fee Retainer            Goodwin Procter                500,000
Professional Fee Retainer            Keller Benvennuti Kim           92,132
Professional Fee Retainer            McManis Faulkner               110,000
Professional Fee Retainer            Paladin                         40,000
Professional Fee Retainer            Ramsey & Ehrlich             1,550,749
Professional Fee Retainer            Reevemark, LLC                 200,000

                                                                   2,906,881

Escrow Payment - Google damages                                     756,499

Grand Total                                                        3,663,380




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:25 Trusts, equitable or future interests in property (other than anything listed
in line 1), and rights or powers exercisable for your beneﬁt

         Description                 Acct Number            Amount
CLAT Brokerage Accounts                Fidelity -5345         3,153,723
CLAT Brokerage Accounts                Fidelity -8095                48
CLAT Brokerage Accounts                Fidelity -8097           490,794
CLAT Brokerage Accounts                Fidelity -8098           537,424
CLAT Brokerage Accounts                Fidelity -8099           338,386
CLAT Brokerage Accounts                Fidelity -8100           438,629
CLAT Brokerage Accounts                Fidelity -8101         1,448,502
CLAT Brokerage Accounts                Fidelity -8102           315,482
CLAT Brokerage Accounts                Fidelity -8105           315,482

                                                               7,038,470




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:30 Other amounts someone owes you

           Description                Amount
Accounts receivable other                 35,000
Pacchiana Loan                            60,000
Business Loan                            173,724
Fawn Park                                720,000
NGI East Bay                           9,946,959
RAD Urban, Inc.                        1,095,421
Randall Miller Loan                    3,400,000
                                      15,431,104




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:31 Interests in insurance policies

             Company                Coverage          Beneficiary       Value
Assurity Life Insurance Company        Life              Debtor          10,000
Farmers Insurance                    Renters             Debtor
Farmers Insurance                      Auto              Debtor
Farmers Insurance                   Motorcycle           Debtor
BoatUS Marine Insurance               Boat               Debtor
Blue Shield                          Medical      Debtor & Dependents
Delta Dental                         Dental       Debtor & Dependents
VSP                                   Vision      Debtor & Dependents

                                                                         10,000




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:33 Claims against third parties, whether or not you have filed
a lawsuit or made a demand for payment

                                                                              Amount
Claim against Uber Technologies, Inc. pursuant to Indemnification
Agreement dated April 11, 2016.
                                                              Judgement       179,047,999
                                                                   Fees           475,571

Claims against Alphabet, Google and Waymo: Potential claims for                        1
tortious interference with contractual rights and prospective economic
advantage; anticompetitive behavior; violations of California Business
and Professions Code section 16600

Claims against Uber and Apparate: Potential claims for rescission, breach              1
and fraud related to Otto Trucking and Otto transactions; anticompetitive
behavior; violations of California Business and Professions Code section
16600

                                                                              179,523,572




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule A/B Part 4:35 Any financial assets you did not already list

            Description                       Entity/Party             Amount
Simple Agreement Future Equity                Jabril Jackson              125,000
Simple Agreement Future Equity                   One70                     50,000
Simple Agreement Future Equity                   Pronto                 5,271,376
Simple Agreement Future Equity                Home Studio                 250,000

                                                                       5,696,376




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule C Part 2 Property Claimed as Exempt

All exemptions claimed are allowed under California statute § 703.140(b)

            Description             A/B Line     Value Owned         Exempt Value
2014 Toyota Tacoma                    3.1                 5,000              5,000
2009 VW Jetta                         3.2                   500                500
2017 Honda CRF250L                    3.3                 7,000              5,850
Personal property in household         15                16,800             16,800
Retirement accounts                    21            17,615,399         17,615,399
Charitable Lead Annuity Trusts         25             7,038,470          7,038,470
Tools of the trade                     39                 3,500              3,500
Life insurance                         31               300,000            300,000
Wildcard exemption                    n/a                30,825             30,825
                                                     25,017,494         25,016,344




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule E/F Part 2:4 Non-priority unsecured claims

 No.          Priority Creditor            Address           Date Incurred Contingent Unliquidated Disputed   Offset     Type        Total Amount
                                      Lockbox 6112, PO
                                          Box 7247,                                                                    Credit card
  4.1 Apple Pay                                               3/4/2020                                                                         551
                                       Philadelphia, PA                                                                   debt
                                         19170-6112
                                        PO Box 15298,
                                                                                                                       Credit card
  4.2 Chase                            Wilmington, DE         3/4/2020                                                                       3,900
                                                                                                                          debt
                                         19850-5298
                                      530 Bush St #403,
                                                                                                                        Personal
  4.3 Finemann PR                     San Francisco, CA       3/4/2020                    Yes        Yes       Yes                          34,000
                                                                                                                        services
                                            94108
                                       601 Marshall St,
  4.4 Goodwin Procter                 Redwood City, CA        3/4/2020                    Yes                  Yes     Legal fees                   1
                                            94063
                                      Keker, Van Nest &
                                       Peters LLP, 633
  4.5 Google LLC                                              3/4/2020        Yes                    Yes       Yes     Judgment        179,047,999
                                        Battery St, San
                                     Francisco, CA 94111
        Protector Boats Service        790 National Ct,                                                                 Personal
  4.6                                                         3/4/2020                    Yes        Yes                                    19,502
        Center                      Richmond, CA 94804                                                                  services
                                       803 Hearst Ave,
  4.7 Ramsey & Ehrlich LLP                                    3/4/2020                    Yes        Yes       Yes     Legal fees        3,000,000
                                     Berkeley, CA 94710
                                    Boies Schiller Flexner
                                     LLP, 1401 New York                                                                Indemnity
  4.8 Uber Technologies, Inc.                                 3/4/2020                    Yes        Yes       Yes                                  1
                                    Ave NW, Washington,                                                                 dispute
                                          DC 20005
                                      PO Box 10347, Des
                                                                                                                       Credit card
  4.9 Wells Fargo                     Moines, IA 50306-       3/4/2020                                                                       1,588
                                                                                                                          debt
                                            0347

                                                                                                                                       182,107,542




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ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
Schedule G: Executory Contracts and Unexpired Leases

  Sch G              Name               Street Address           City     State    Zip               Purpose
   2.13    Victoria Pacchiana      38 Miller Ave., # 20   Mill Valley     CA      94941   Project Management
   2.14    Department of Justice   550 Kearny St # 800    San Francisco   CA      94108   Bail
   2.15    Verizon                 Verizon Headquarters   New York        NY      10017   Cellular service
   2.16    Comcast                 1485 Bayshore Blvd     San Francisco   CA      94124   Internet/cable service
   2.17    Stefanie Olsen          Not disclosed          Mill Valley     CA      94941   Child Support




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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

In re Levandowski                                                               Case No. 20-30242

Notes and Statement of Limitations, Methodology and Disclaimer Regarding the Debtor’s
Statement and Schedules (the “Global Notes”)

Anthony Scott Levandowski (the “Debtor”) submits his Statement of Financial Affairs (the
“Statements”) and Schedules of Assets and Liabilities (the “Schedules”), pursuant to 11 U.S.C.
section 521 and Federal Rule of Bankruptcy Procedure 1007. The following notes regarding the
Statements and Schedules are fully incorporated into and made part of the Statements and
Schedules. These notes comprise an integral part of the Statements and Schedules and should be
referred to and considered in connection with any review of the Statements and Schedules.
Unless otherwise noted, the financial and other information contained in the Statements and
Schedules is derived from the Debtor in accordance with the Debtor’s financial reporting and
accounting policies and procedures.

The Debtor’s voluntary bankruptcy petition was filed on March 4, 2020 (the “Petition
Date”).The Debtor’s bankruptcy case is administered by order of the Bankruptcy Court under the
caption In re Levandowski, Case No. 20-30242 (HLB).

The Debtor’s financial records and accounting are not maintained according to Generally
Accepted Accounting Principles (“GAAP”) and the Debtor does not engage an outside auditor to
perform an audit of his financial information, thus the aggregate asset values and claim amounts
set forth in the Statements and Schedules may not reflect the values and amounts that would be
set forth in a balance sheet for the Debtor prepared in accordance with GAAP. Further, the
circumstances surrounding the Debtor’s petition limited the amount of time available to prepare
the Statements and Schedules, and as such they were prepared on an expedited basis.

In the interest of transparency and to provide full and complete information to the Court and
creditors, the Debtor has erred on the side of disclosure with respect to ambiguous or uncertain
instructions. Where possible, the Debtor or his agents have attempted contact with the Debtor’s
business partners to corroborate the Debtor’s records, but in some cases that third-party
verification was made difficult by the recent measures taken by local authorities to address
public health concerns related to the coronavirus pandemic. These circumstances
notwithstanding, the Debtor and his agents intend to continue their efforts to verify the financial
information contained herein to ensure completeness and accuracy.

It would be prohibitively expensive, unduly burdensome and extremely time-consuming to
obtain current market valuations of the Debtor’s assets. Accordingly, unless otherwise indicated,
net book values rather than current market values are reflected on the Statements and Schedules.
The current book values may not reflect a comprehensive review of accounting adjustments,
including asset impairments and write-downs, which may be required and conducted in relation
to the Debtor’s bankruptcy. The reader therefore should not place undue reliance upon the book
values associated with the assets listed.


                                                  1
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General Notes Regarding the Debtor’s Statements and Schedules

1. Financial Information.

The information provided for herein, except as otherwise noted, represents the assets and liability
data of the Debtor as of March 4, 2020, unless otherwise noted.

2. Unaudited Financial Information.

The Statements and Schedules were prepared by the Debtor’s business manager, who is not a
licensed CPA, and are unaudited. While the Debtor has tried to ensure that the Statements and
Schedules are accurate and complete based upon information that was available at the time of the
preparation, the subsequent receipt of information or an audit may result in material changes in
financial data contained in the Statements and Schedules. The Debtor and his agents continue
not only to review the Debtor’s books and records, but also to seek corroboration directly from
the Debtor’s business partners wherever possible to ensure both completeness and accuracy.

3. Claim Description.

Any failure to designate a claim on the Statements and Schedules as “contingent,” “unliquidated,”
or “disputed” does not constitute an admission that such claim is not “contingent,” “unliquidated,”
or “disputed.” The Debtor reserves the right to dispute, or to assert offsets or defenses to any claim
reflected on his Schedules as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “contingent,” “unliquidated,” or “disputed.”

Moreover, the Debtor reserves all rights to amend the Statements and Schedules, in all respects, as
may be necessary or appropriate, including, but not limited to, the right to dispute or to assert
offsets or defenses to any claim reflected on the Statements and Schedules as to amount, liability or
classification of the claim, or to otherwise subsequently designate any claim as “disputed,”
“contingent” or “unliquidated.”

Furthermore, nothing contained in the Statements and Schedules shall constitute a waiver of rights
by the Debtor involving any present or future causes of action, contested matters or other issues
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
or other relevant non-bankruptcy laws.

4. Accuracy.

Reasonable efforts have been made to prepare and file complete and accurate Schedules and
Statements in the time available. However, while the Debtor has sought to file complete and
accurate Statements and Schedules, inadvertent errors and omissions may exist. The Debtor
reserves the right to amend his Statements and Schedules as necessary or appropriate. Nothing
contained in the Schedules and Statements constitutes a waiver of any of the Debtor’s rights or
an admission of any kind with respect to this chapter 11 case, including, but not limited to, any
rights or claims of the Debtor against any third party or issues involving substantive
consolidation, equitable subordination, or defenses or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy or
non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights


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contained elsewhere in the Global Notes does not limit in any respect the general reservation of
rights contained in this paragraph.

         a.       No Admission. Nothing contained in the Schedules and Statements is intended or
                  should be construed as an admission or stipulation of the validity of any claim
                  against the Debtor, any assertion made therein or herein, or a waiver of the
                  Debtor’s rights to dispute any claim or assert any cause of action or defense
                  against any party.

         b.       Recharacterization. Notwithstanding that the Debtor has made reasonable
                  efforts to correctly characterize, classify, categorize, or designate certain claims,
                  assets, executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtor nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The Debtor
                  thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                  items reported in the Schedules and Statements at a later time as is necessary and
                  appropriate.

5. Liabilities.

The Debtor has sought to allocate liabilities between the prepetition and postpetition periods
based on the information and research that was conducted in connection with the preparation of
the Statements and Schedules. As additional information becomes available and further research
is conducted, the allocation of liabilities between prepetition and postpetition periods may
change.

6. Insiders.

For the purposes of the Statement and Schedules, the Debtor defines “insiders” pursuant to
section 101(31) as (a) relatives, (b) domestic partners (current and former), and (c) corporations
of which the Debtor is an officer, director, or person in control. Payments to insiders listed in (a)
through (c) above are set forth in response to Question 7 of the Statements. While the Debtor has
not determined and is not at this time taking a position regarding whether Pronto.ai is an insider,
he has elected to treat it as such for purposes of the Schedules.

Persons listed as “insiders” have been included for informational purposes only. The Debtor
does not take any position with respect to (a) such person’s influence over the control of the
Debtor, (b) the management responsibilities or functions of such individual, (c) the decision-
making or corporate authority of such individual or (d) whether such individual could
successfully argue that he or she is not an “insider” under applicable law.

The Debtor has endeavored to include all payments made over the twelve months preceding the
filing to any individual deemed an insider and reserves the right to update this information as the
Debtor and his agents continue to review the Debtor’s books and records.

7. Transfers Made Within 90 Days of Petition Date.

The response to Question 6 of the Statements lists all parties who received at least $6,825 in
aggregate within 90 days immediately preceding the Petition Date. In the interest of


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transparency, the Debtor has erred on the side of inclusion, whether or not the transferee is a
creditor of the Debtor. Accordingly, the listing of any transfer in response to Question 6 of the
Statements does not constitute an admission that the transferee of such transfer is a creditor of
the Debtor.

8. Setoffs.

The Debtor may incur setoffs from third parties, particularly professionals and other creditors
who may apply outstanding invoices against retainers or deposits in their possession. The Debtor
may not have full knowledge of either the occurrence or value of these setoffs in real-time. The
Debtor reserves all rights to enforce or challenge, as the case may be, any setoffs that have been
or may be asserted.

9. Specific Notes.

These general notes are in addition to the specific notes set forth in the related Statements and
Schedules hereinafter.

                                       Notes to Schedule “A / B”

Unless otherwise noted, all of the amounts listed on Schedule A/B represent the value of each
Debtor’s assets as reflected in the Debtor’s books and records. The Debtor has performed no
independent review of the value of these assets. The actual value of the assets listed may differ
significantly from the amounts reflected in each Debtor’s books and records.

The following notes on specific responses are provided in the interest of transparency.

Question 4.1: The asset listed is a watercraft that was damaged in an accident and is currently
inoperable. An insurance claim has been filed and is in process. The value indicated presumes the
watercraft is restored to operable condition after repairs and/or is not restored but an offsetting
insurance payment is received.

Question 17: Checking accounts ending 6040, 6057, and 6065 are held jointly with the mother of
the Debtor’s two children, and are used for expenditures related to their education, health, and
general welfare in the ordinary course as part of a child support agreement.

Question 22: The Debtor has funded various retainers and escrow amounts held by professionals:

        Ashley Rust Associates – public relations

        DOJ Bail – cash bond

        Goodwin Procter – litigation counsel

        Keller Benvenutti Kim – bankruptcy counsel

        McManis Faulkner – litigation counsel

        Paladin – bankruptcy financial advisor



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        Ramsey & Ehrlich – defense counsel (also holds $756,499 in escrow for Google litigation
         damages)

        Reevemark, LLC – public relations

Question 25: The Debtor has established several Charitable Lead Annuity Trusts (each, a
“CLAT”). CLATs are irrevocable trusts from which annuity payments are made to designated
charities over a defined number of years, after which time any residual value remaining in the trust
is transferable to designated beneficiaries on a tax-free basis. The Debtor’s CLATs have a term of
twenty years. The value at the end of the term is difficult to estimate and could be either higher or
lower than the figures herein. The Debtor is a beneficiary of these CLATs.

Question 28: The Debtor has not yet filed a return for the 2019 tax year, but does not anticipate any
refund. Inasmuch as they could impact the Debtor’s income in tax years 2015 and 2016, the
litigations described in Question 33 may have tax implications requiring amended returns, which
may or may not result in refunds for those years.

Question 30: The Robert Miller and Randall Miller loan balances are subject to verification.

Question 34: Certain professionals hold substantial retainer balances against which pre-petition
amounts owed for professional fees and expenses related to ongoing litigation and other services
may be applied. The Debtor may not have full knowledge of either the occurrence or value of
such transactions in real-time.

Question 35: The Debtor has invested in various Simple Agreement for Future Equity (“SAFE”)
convertible notes benefitting insiders. The One70 SAFE is issued by the Debtor’s brother. The
Home Studio SAFE is issued by the Debtor’s fiancée. The Pronto SAFE is issued by a company
co-founded by the Debtor and which currently employs him.

                                         Note to Schedule “C”

                                      Property Claimed as Exempt

Schedule “C” contains the Debtor’s best estimate as of the date hereof of the property he is entitled
to claim as exempt under section 522 of the Bankruptcy Code. The Debtor reserves the right to
supplement Schedule “C.”

                                        Note to Schedule “E / F”

                                                 Taxes

Schedule “E” contains the Debtor’s best estimate of all of the potential priority claims against each
Debtor’s estate held by governmental and quasi-governmental entities. The Debtor has not
determined whether, and to what extent, any of the creditors identified on Schedule “E” in fact are
entitled to priority under section 507 of the Bankruptcy Code. The Debtor reserves the right to assert
that claims identified on Schedule “E” are not claims of governmental entities and/or that such
claims are not entitled to priority.

                                           Domestic Support


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Schedule “E” contains the Debtor’s monthly child support obligation. The Debtor has not
determined whether, and to what extent, any of the creditors identified on Schedule “E” in fact are
entitled to priority under section 507 of the Bankruptcy Code. The Debtor reserves the right to assert
that claims identified on Schedule “E” are not entitled to priority.

                                       General Unsecured Claims

The Debtors have used reasonable best efforts to list all general unsecured claims against the
Debtors on Schedule “E/F” based upon the Debtors’ existing books and records. Amounts
included on Schedule “E/F” are the Debtors’ best estimates of liabilities and subject to change as
the Debtor continues to review its books and records and receive further information from
creditors. The Debtor reserves all rights to amend this list of creditors and the nature and
amounts of their claims.

The inclusion of any litigation action in these Statements and Schedules does not constitute an
admission by the Debtors of liability, the validity of any litigation action, or the amount or
treatment of any claims, defenses, counterclaims, and cross-claims with respect to any litigation
action and the amount or treatment of any potential claim resulting from any litigation action
currently pending or that may arise in the future.

                                         Note to Schedule “G”

                               Executory Contracts and Unexpired Leases

The Debtor hereby reserves all rights to dispute the validity, status, or enforceability of any
contracts, agreements or leases set forth in Schedule G and to amend or supplement such Schedule
as necessary. The contracts, agreements and leases listed on Schedule G may not have taken effect
or be binding on any party and may have expired or been modified, amended, or supplemented
from time to time by various amendments, restatements, waivers, estoppel certificates, letter and
other documents, instruments and agreements which may not be listed therein.

Certain of the real property leases and contracts listed on Schedule G may contain renewal options,
guarantees of payments, options to purchase, rights of first refusal, rights to lease additional space
and other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on
Schedule G.

The Debtor reserves all of his rights, claims and causes of action with respect to the contracts and
agreements listed on the Schedules, including the right to dispute or challenge the characterization
or the structure of any transaction, document, or instrument. Certain executory agreements may
not have been memorialized in writing and could be subject to dispute. Generally, executory
agreements that are oral in nature have not been included in the Schedules.

The listing of any contract on Schedule G does not constitute an admission by the Debtor as to the
validity of any such contract. The Debtor reserves the right to dispute the effectiveness of any such
contract listed on Schedule G or to amend Schedule G at any time to remove any contract.



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Omission of a contract or agreement from Schedule G does not constitute an admission that such
omitted contract or agreement is not an executory contract or unexpired lease. The Debtor’s rights
under the Bankruptcy Code with respect to any such omitted contracts or agreements are not
impaired by the omission.

                                          Note to Schedule “I”

                                                Income

The Debtor is currently employed by Pronto, an automotive safety technology firm that the Debtor
co-founded and in which the Debtor is currently an investor through a Simple Agreement for
Future Equity (“SAFE”) convertible note.

This schedule does not include cash interest income of de minimis value generated by various
investment accounts and other holdings of the Debtor. Through January 2020, the Debtor received
annual cash interest income on a loan to Fawn Park, LLC, a private entity that primarily holds real
estate and that, through family relationships, is an insider of the Debtor. The Debtor anticipates
this loan will be repaid in March 2020, as such no future interest income is anticipated. It is for this
reason that the figure in Question 12 of this Schedule “I” differs from the figure in Question 11 of
Form 122B.

The Debtor’s CLATs as described above generate dividend income from their holdings, but that
income is not included in this Schedule I as it is held in the trust and is not available to the Debtor
on a current basis.

                                          Note to Schedule “J”

                                               Expenses

The Debtor maintains a household consisting of himself, his fiancée, and his two sons, who live
with him part-time under a joint custody arrangement with their mother. Rent expense is shown as
zero as it has been prepaid through July 2020 on the primary residence, and through June 2020 on a
secondary residence, which will be vacated. The majority of the medical expenses are for the benefit
of the boys, incremental to the childcare and education expenses listed.

The Debtor also pays monthly retainers to his business manager and PR/project manager, as well
as occasional fees to a financial advisor. The Debtor’s stepmother is his business manager and
maintains his financial records. Due to his high profile, the Debtor requires the services of public
relations professionals and has retained his fiancée to manage his overall public relations effort as
well as various personal projects.

                                          Notes to Statements

Question 5: As described above, income is accruing to the various CLATs of which the Debtor is a
beneficiary, but such income is not available to the Debtor during the twenty-plus year term of
these irrevocable trusts. In 2018, the Debtor reported to tax authorities both income and losses from
sources other than wages that largely offset each other.

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Question 6: During the 90 days prior to filing, the Debtor disbursed substantial amounts of cash.
The Debtor invested approximately $3.5M in SAFE notes issued by Pronto and by Home Studio, a
business owned by the Debtor’s fiancée. The Debtor also paid considerable legal fees owed and a
restitution payment held in escrow by defense counsel. The Debtor also funded professional fee
retainers for advisors whose services will be required during the pendency of the bankruptcy, and
prepaid rent. In addition, the Debtor purchased an automobile, which he subsequently gifted to his
fiancée. This gift is listed in the response to Question 13.

Questions 7 and 8: For purposes of these Statements, “insiders” include:

        Stefanie Olsen – mother of Debtor’s two children; also a Priority Unsecured Creditor

        Suzanna Musick – Debtor’s stepmother and business manager

        Victoria Pacchiana – Debtor’s fiancée and principal owner of Home Studio, in which the
         Debtor holds an investment in the form of a SAFE note.

        One70 – Partnership controlled by the Debtor’s brother

        Fawn Park LLC – Partnership controlled by the Debtor’s father and stepmother that owns
         the Debtor’s secondary residence, and which owes the Debtor $720,000 as of March 4,
         2020

        Pronto.ai – Technology company co-founded by Debtor. As of August 2019, Debtor
         resigned as CEO but remains an investor through a SAFE and is currently employed by the
         company.

Aside from the domestic support payments, most of the transfers to the insiders listed were in
exchange for what the Debtor believes to be reasonably equivalent value. The Debtor’s stepmother
and fiancée are providing services that the Debtor would otherwise have to obtain from outsiders.
Payments to Fawn Park are for rent on the Debtor’s primary residence. Transfers to One70, Home
Studio, and Pronto were in exchange for SAFE convertible notes. Certain transfers to the Debtor’s
stepmother in March 2019 were essentially pass-through transactions, in which the funds were
ultimately invested into Pronto SAFE notes for the Debtor’s benefit, transferred into the joint bank
accounts for the benefit of the Debtor’s children, or returned directly to the Debtor. The net
remaining amount of $35,000 is currently listed as a receivable in the response to Schedule “A/B”
Question 30.

The Debtor reserves the right to amend or supplement this list.

Question 11: The Debtor has various fee retainers in place with legal and other professionals.
The Debtor’s financial advisor, Paladin, applied $13,319.43 in pre-petition fees against the
$40,000 retainer in Paladin’s possession prior to the petition filing. Certain other professionals
may have also incurred fees and expenses pre-petition and applied those amounts to retainers in



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their possession. The Debtor does not have full knowledge of either the occurrence or value of
these transactions.

Question 14: The Debtor made contributions to the CLATs during 2018, which are not included
here.

Question 18: The Debtor is a guarantor on various construction loans totaling approximately $50M
borrowed by real estate-focused LLCs in which the Debtor holds equity interest.

Question 20: In January 2020, the Debtor liquidated his $8.0M interest in RAD Oakland Investco
LLC for cash proceeds of $6.2M, approximately $3.0M of which was invested in the Pronto SAFE
convertible note instrument. The remaining proceeds went to fund the Debtor’s legal fees,
professional retainers, and other accrued litigation-related expenses. In August 2019, the Debtor
sold his equity in Pronto back to the company for its par value of $50.

Question 28: The Debtor holds interests in various LLCs, some of which have furnished the
Debtor’s financial statements to other parties in connection with capital raising and other activities
by those LLCs. This list is not intended to be exhaustive, as the LLCs may have shared the
Debtor’s financials with additional parties unbeknownst to the Debtor.

Part 12: Portions of the Debtor’s Schedules and SOFA were filled in by Paladin Management;
however, Paladin did so under the direct supervision of Keller Benvenutti Kim LLP, Debtor’s
proposed bankruptcy counsel. Accordingly, Paladin does not constitute a “bankruptcy petition
preparer” under section 110(a)(1) of the Bankruptcy Code.

                                          General Disclaimer

The Debtor has prepared the Statement and Schedules based on the information reflected in the
Debtor’s books and records. However, inasmuch as the Debtor’s books and records have not
been audited, the Debtor cannot warrant the absolute accuracy of these documents. The Debtor
has made a diligent effort to complete these documents accurately and completely. To the extent
additional information becomes available that materially impacts the disclosures contained in the
Statement and/or Schedules, the Debtor will amend and supplement the Statement and
Schedules.




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